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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRIAN MCCAFFERTY, et al.                       :          CIVIL ACTION
                                               :
   v.                                          :          No. 18-1276
                                               :
NEWSWEEK MEDIA GROUP, LTD.                     :

                                           ORDER

        AND NOW, this 7th day of March, 2019, upon consideration of Defendant’s Motion to

Dismiss Plaintiffs’ Amended Complaint, Plaintiffs’ opposition thereto, the Defendant’s Reply,

and following the parties’ presentations at the June 19, 2018, oral argument on the Motion, and

for the reasons stated in the accompanying Memorandum, it is ORDERED the Motion

(Document 22) is GRANTED. Plaintiffs’ Amended Complaint is DISMISSED with prejudice.

        The Clerk of Court is DIRECTED to mark the above-captioned case CLOSED.




                                                          BY THE COURT:




                                                          /s/ Juan R. Sánchez
                                                          Juan R. Sánchez, C.J.
